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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,                  )
                                           )
             Plaintiff,                    )
                                           )
v.                                         )          Case No. CR-18-227-SLP
                                           )
JOSEPH MALDONADO-PASSAGE,                  )
                                           )
             Defendant.                    )

                                      ORDER

      Before the Court is Defendant’s Motion for Resentencing Hearing [Doc. No. 195].

If the Government intends to respond to this Motion, the Government is directed to do so

on or before December 20, 2021.

      IT IS SO ORDERED this 16th day of December, 2021.
